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Attorneys for Defendants
Premium Food Group, Inc. and
Nut Cravings, Inc.


                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY




 OHIO SECURITY INSURANCE COMPANY,
                                                 Case No. 3:21-CV-15690-FLW-LHG
                     Plaintiff,
                                                   DEFENDANTS’ NOTICE OF
              v.                                   MOTION TO DISMISS
                                                   COMPLAINT
 PREMIUM FOOD GROUP, INC. and NUT
 CRAVINGS, INC.,                                   Date: December 6, 2021
                                                   Time: 1:30 p.m.
                     Defendants.

                                                 Assigned to:

                                                 Chief Judge Freda L. Wolfson

                                                 Magistrate Judge Lois H. Goodman




TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:


      PLEASE TAKE NOTICE that, on December 6, 2021, at 1:30 p.m. before the Honorable

Lois H. Goodman, Defendants Premium Food Group, Inc., and Nut Cravings Inc. (“Defendants”)

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will respectfully move this Court for an order dismissing Plaintiff’s Complaint pursuant to Rules

12(b)(2) of the Federal Rules of Civil Procedure.

       This Motion is made pursuant to Federal Rule of Civil Procedure 12(b)(2) for lack of

personal jurisdiction, and is based upon this Notice of Motion, the Memorandum in support

thereof, the Declaration of Asher Guttman, all pleadings, records, and documents on file herein,

and upon such other evidence, oral and documentary, as may be presented to the Court at or before

the hearing on this Motion.

       As discussed in the accompanying Memorandum, Defendants are New York corporations

with no contacts to New Jersey that would subject them to being haled to New Jersey to defend

against this action. Defendants simply sells its products online, including through its own e-

commerce website and on Amazon.com (“Amazon”)—in all cases, Defendants do not expressly

aim any activities at New Jersey. Defendants are not subject to the personal jurisdiction of this

Court, and the Complaint should be dismissed.

                                                    Respectfully submitted,



Dated: November 1, 2021                             TARTER KRINSKY & DROGIN LLP

                                             By:    s/ Mark Berkowitz
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